Order Form (01/2005)
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                             United States District Court, Northern District of Illinois

    Name of Assigned Judge            John W. Darrah                Sitting Judge if Other
       or Magistrate Judge                                           than Assigned Judge

   CASE NUMBER                              12-cv-4535                          DATE                6/20/12
            CASE                                         Thornton-Bey v. United States of America
            TITLE

  DOCKET ENTRY TEXT

  Petitioner’s petition for habeas corpus relief pursuant to 28 U.S.C. § 2255 is denied. See statement below.




  O[ For further details see text below.]                                                              Docketing to mail notices.




                                                           STATEMENT
          Petitioner DeJuan Thornton-Bey’s petition for habeas corpus relief pursuant to 28 U.S.C. § 2255 is
  denied. Petitioner failed, in conformance with Rule 2 Governing Section 2255 Proceedings for the United
  States District Courts, to submit his petition and verify it under penalty of perjury. “The verification
  requirement serves to ensure that a petitioner can provide some evidence beyond conclusory and speculative
  allegations, even if that evidence is his verified statement alone. Requiring either that the motion be signed
  under penalty of perjury or be accompanied by an affidavit is thus not a mere technicality of pleading; once a
  pleading is submitted in this form, the allegations contained therein become evidence.” Kafo v. U.S., 467
  F.3d 1063, 1068 (7th Cir. 2006) (Kafo).

           Moreover, it is not apparent from his petition that he is entitled to an evidentiary hearing on the
  matter, as he appears to suggest his sentence should be vacated on the basis that he has not seen
  commissioning documents for United States Attorney Patrick Fitzgerald. As the U.S. District Court for the
  District of Columbia has already explained to Petitioner Thornton-Bey in another case, “commissions, unlike
  oaths, are bestowed upon appointed officers, not retained by DOJ.” Thornton-Bey v. Executive Office for U.S.
  Attorneys, No. 11-CV-773, 2012 WL 593546, at *2 (D.D.C. Feb. 24, 2012). The mere fact that Petitioner has
  not obtained U.S. Attorney Fitzgerald’s commissioning papers is in no way proof that Fitzgerald was not
  properly commissioned, thereby negating Petitioner’s sentence. Therefore, his petition for habeas relief is
  denied, and no evidentiary hearing is necessary “when a petitioner's allegations are ‘vague, conclusory, or
  palpably incredible rather than detailed and specific.’” Kafo, 467 F.3d at 1067 (quoting Bruce v. United
  States, 256 F.3d 592, 597 (7th Cir. 2001)).




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